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 1                 IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF MONTANA

 3

 4    BNSF RAILWAY COMPANY, on            )
      behalf of THE UNITED STATES         )
 5    OF AMERICA,                         )       Civil Action
                                          )    No. CV-19-40-M-DLC
 6            Plaintiff,                  )
                                          )
 7    vs.                                 )
                                          )
 8    THE CENTER FOR ASBESTOS             )
      RELATED DISEASE, INC.,              )
 9                                        )
              Defendant.                  )
10                                        )

11

12

13

14              REMOTE VIDEO RECORDED EXPERT DEPOSITION

15                                   OF

16                         ALBERT MILLER, M.D.

17               (Taken on behalf of the Plaintiff.)

18

19

20

21

22

23                      Taken Remotely Via Zoom
                   Monday, July 25, 2022 - 8:01 a.m.
24

25          Reported by Beth Gilman, RPR and Notary Public
             for the State of Montana, County of Flathead

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                                                                        Exhibit 69-1
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                               REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                                 25                                                                              27
 1   that that I considered myself objective and impartial.                  1   validity of your opinions if you were to do that on
 2   I had been appointed by the Court of the Commonwealth                   2   even one occasion, and that is, would you have
 3   of Pennsylvania to serve as an impartial expert on                      3   difficulties with your own credibility if you had
 4   asbestos matters, and I thought that was a valuable                     4   testified knowingly on even one case that a patient
 5   role so I made it clear that I was available for                        5   had asbestos-related disease when in fact they did
 6   honest review of the defendants or the plaintiffs. In                   6   not?
 7   only one situation did I get a request to review a                      7            A.    I -- I believe so. Obviously the more you
 8   case from the defense counsel.                                          8   do it, the more it becomes known. But I -- I believe
 9           Q.   Okay. So is it fair to -- sorry. Go ahead,                 9   I have not done so in even one case in all those
10   sir.                                                                   10   years.
11           A.   Also, that as a treating physician, many of               11            Q.    All right. And I think it goes without
12   my first involvements in these legal issues were on                    12   saying, but I'll ask it anyway. If you were aware of
13   behalf of my own patients, so they were automatically                  13   a medical expert who had been willing to state that a
14   plaintiffs. I was both the treating and the expert                     14   patient had asbestos-related disease when -- when that
15   witness.                                                               15   medical expert or that medical provider knew the
16           Q.   Understood, sir. So with the exception of                 16   patient did not have a diagnosis of any
17   that one case for the defense, you've testified 100                    17   asbestos-related disease, would that cause you
18   percent for plaintiffs in asbestos-related lawsuits;                   18   trouble?
19   correct?                                                               19            A.    My opinion of that person would markedly
20           A.   Yes. For the reasons I made clear.                        20   diminish.
21           Q.   Understood. Sir, during those hundreds of                 21            Q.    Understood. Doctor, in terms of the number
22   times that you either wrote a report on behalf of a                    22   of patients that you treat as a medical care provider
23   plaintiff in an asbestos-related lawsuit, or in                        23   today, how many patients do you treat today?
24   testimony either at deposition or trial, have you ever                 24            A.    Well, in exactly three days I will mark my
25   testified on behalf of a plaintiff in an asbestos case                 25   86th birthday, so I no longer have a private practice;
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                                                                 26                                                                              28
 1   when you knew that that individual patient had no                       1   I no longer see patients. In my academic experience I
 2   diagnosis of asbestos-related disease?                                  2   see patients in order to train future pulmonologists.
 3           A.   Where I reviewed the case and I found no                   3   So I am not the physician of record; the trainee,
 4   evidence for disease?                                                   4   called a pulmonary fellow, is the physician of record.
 5           Q.   Correct.                                                   5   So technically I don't see patients at all.
 6           A.   I never testified in such a case, nor would                6            Q.    Okay.
 7   I expect to be asked. And if I were asked, I would                      7            A.    I do see many patients in that capacity as a
 8   refuse.                                                                 8   teacher and a supervisor.
 9           Q.   And why would you refuse to testify on                     9            Q.    Understood. Sir, if you can estimate for me
10   behalf of a plaintiff in a case where you knew the                     10   when you regularly treated individual patients, that
11   plaintiff had no diagnosis of asbestos-related                         11   would be helpful.
12   disease?                                                               12            A.    Up until 1995.
13           A.   Because I value my objectivity and                        13            Q.    Okay.
14   impartiality.                                                          14            A.    And somewhat for the -- up until 2005 much
15           Q.   Right.                                                    15   less.
16           A.   And my opinion is only of value because of                16            Q.    If you could explain that difference, that
17   that.                                                                  17   would be helpful, sir.
18           Q.   And -- and not to be pedestrian, sir, but in              18            A.    Well, I had -- in addition to my academic
19   your mind what would testifying on behalf of a patient                 19   appointment at a medical school, I had a private
20   you knew didn't have asbestos-related disease do to                    20   practice, and I gave up most of that. I retained just
21   the value of your opinions?                                            21   the ability to see a few patients a week from '95 to
22           A.   That if I did so, it would call into                      22   2005.
23   question the credibility of what I -- what I say.                      23            Q.    All right. Were most of the patients that
24           Q.   Yes. Sir, would it -- would it call into                  24   you saw during that time frame from '95 to 2005
25   credibility to question of your opinions or the                        25   patients with some issue with asbestos-related
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                                                                                                                                     Exhibit 69-2
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                               REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                                 45                                                                          47
 1    died in the ER after being administered Narcan?                        1   have in the medical world, are based on my
 2          A.    No.                                                        2   credibility, and I would not do anything to -- to
 3          Q.    Have you reviewed any of the individual                    3   diminish my credibility.
 4    opioid scrips at CARD to verify that prescription                      4            Q.   And signing and dating a Medicare claim form
 5    practices, vis-a-vis a wet signature, were being                       5   suggesting a patient had a diagnosis of asbestosis
 6    adhered to at the clinic?                                              6   when they did not would put that credibility at risk.
 7          A.    I believe you asked me that question, and                  7   Fair?
 8    the answer is still no.                                                8            A.   "When they did not." When I did not believe
 9          Q.    All right. Sir, in terms of any of the                     9   that that was the diagnosis. I am sure I have stated
10    individual CARD patients on opioid pain meds. that you                10   diagnoses that I believed to be the case that other
11    reviewed, did you see any indication from those                       11   physicians didn't believe was the diagnosis.
12    patient records that any of those individual opioid                   12   Obviously there's other cases where the other side --
13    CARD patients did not have an asbestos-related                        13   the insurance company says, Our review -- our
14    disease?                                                              14   reviewing physician says the patient doesn't have
15          A.    No.                                                       15   that.
16          Q.    Okay. Doctor, in terms of your own patients               16            Q.   Right.
17    when you were seeing them in practice, did you ever                   17            A.   I -- I sincerely believed that the patient
18    have any patients who were Medicare patients?                         18   did.
19          A.    Of course. Yes.                                           19            Q.   Okay. But in cases where you believed the
20          Q.    To the best of your recollection, did you or              20   patient did not have any diagnosis of any
21    anyone at any clinic that you were ever involved with                 21   asbestos-related disease, you have not and would not
22    submit any Medicare claim forms for patients on the                   22   sign and date a Medicare claim form; correct?
23    basis of an asbestos-related disease when you knew the                23            A.   I would not.
24    patient did not have asbestos-related disease?                        24            Q.   All right. Sir, in terms of the review that
25          A.    I did not do so with Medicare claim forms or              25   you did in this particular case, did you review any
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                                                                 46                                                                          48
 1    any other claim forms.                                    1                Medicare claim forms or EHH checklists submitted by
 2          Q.    And, again, not to be basic here, but why     2                the CARD Clinic?
 3    not, sir?                                                 3                         A.   No.
 4          A.    I would not put a known false diagnosis on a  4                         Q.   Do you know what an EHH checklist, Medicare
 5    claim form. There would be diagnoses I was not yet        5                claim form is?
 6    sure of; that's always the case. But I would say          6                         A.   I recently was informed. I think it means
 7    sometimes "suspect" or "most likely" or -- sometimes      7                Environmental Health -- I actually had to write it
 8    insurance companies would not accept that.                8                down. Environmental Health Hazard, I think.
 9          Q.    Right. But to the best of your knowledge,     9                         Q.   Okay. And what --
10    you didn't ever sign and date a Medicare claim form      10                         A.   I still have no clear -- I have no clear
11    listing a diagnosis for asbestosis when the patient      11                idea what that means.
12    did not have a diagnosis of asbestosis.                  12                         Q.   Okay. What piece of paper were you
13          A.    When I did not believe that that was the     13                referencing that showed what an EHH is?
14    diagnosis, no, I have never done so.                     14                         A.   I think it was in that report from the CARD
15          Q.    All right. And it sounds from your answers   15                Clinic.
16    today that you would never do so; is that correct?       16                         Q.   Okay. Which report from the CARD Clinic?
17          A.    As much as I could tell what would happen, I 17                Sorry, sir.
18    would never do so, yes.                                  18                         A.   The one I mentioned that was dated '20 to
19          Q.    Okay. And, Doctor, why would you never sign  19                '21.
20    and date a Medicare claim form listing asbestosis as a   20                         Q.   Okay. Have you ever reviewed the EHH
21    diagnosis when you knew the patient didn't have a        21                provisions in the Affordable Care Act?
22    diagnosis of any asbestos-related disease?               22                         A.   No.
23          A.    Well, you've asked me similar questions.     23                         Q.   Okay. Do you know what is required in order
24    I -- I believe my -- my own regard of myself as a        24                for a CARD patient or any patient to be designated as
25    physician and as a person, as well as the stature I      25                an environmental health hazard-exposed patient?
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                                                                                                                                  Exhibit 69-3
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                             REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                                 57                                                                      59
 1   this line, the bright line between a diagnosis, and                 1   saying that they did; correct?
 2   until a patient has a diagnosis of asbestos-related                 2            A.   Except with that caveat I gave, I would not.
 3   disease, you're in the wait and see posture in some                 3            Q.   Okay. Sir, what if you had a patient who
 4   situations where you continue to monitor them;                      4   had a fractured rib and you knew that that patient had
 5   correct?                                                            5   a fractured rib on a CT scan, and in this hypothetical
 6        A.    Yes.                                                     6   you knew that that patient only had a fractured rib,
 7        Q.    Okay. And you were --                                    7   not any -- any signs consistent with asbestos-related
 8        A.    That's true -- that's true of all diseases               8   disease; you have a patient with a fractured rib.
 9   other than asbestos as well.                                        9   Would you ever check a Medicare claim form, sign it
10        Q.    Right. Yeah. And if you think you have a                10   and date it, saying the patient had a diagnosis of
11   patient who is at some risk for a condition, you                   11   asbestosis?
12   continue to monitor them, but you wouldn't diagnose                12                 MR. BECHTOLD: Asked and answered.
13   them until you were sure that they had the disease;                13   BY MR. DUERK:
14   correct?                                                           14            Q.   Go ahead, Doctor.
15        A.    I would not say that that is the diagnosis.             15            A.   I think that -- I don't know if that was
16   You have to -- you have to give -- when you are                    16   Mr. Bechtold speaking. I would -- I would stay with
17   filling out the insurance claim form, you have to give             17   what he said. I think you discussed that with me.
18   the reason why you saw the patient.                                18                 There are many times -- and I -- where
19        Q.    Right.                                                  19   patients have both, because -- in fact, on the
20        A.    If you don't do that, the patient doesn't               20   standard -- going back to the world of just chest
21   get reimbursed or you don't get paid.                              21   x-rays and the B-reading of chest x-rays, the
22        Q.    Sure.                                                   22   B-reading form includes a check box for fractured
23        A.    So you might say to rule out, or to --                  23   ribs. So there are many patients who have
24   because of suspect --                                              24   asbestos-related pleural disease and who have
25        Q.    Yes. And you would -- you would indicate on             25   fractured ribs. They have both.
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                                                                 58                                                                      60
 1   that insurance claim form that you suspect               1                       Q.   Yeah. And --
 2   asbestos-related disease.                                2                       A.   There are times when it is difficult to tell
 3         A.   Yes.                                          3              one from the other. If the only finding is something
 4         Q.   But you would indicate on that form that you  4              near the fractured rib, it could be a matter of
 5   are seeing that patient for the purpose of determining   5              judgment whether that is asbestos-related pleural
 6   whether they have a diagnosis.                           6              disease or a fractured rib. When I encounter that --
 7         A.   Yes.                                          7              that doesn't happen so -- so often where that is the
 8         Q.   Yeah. So --                                   8              only finding -- I would say, I cannot distinguish;
 9         A.   If -- if the insurance company accepts those  9              additional studies are necessary, etc.
10   reasons. I don't --                                     10                       Q.   Yes. And so in that instance you would say,
11         Q.   Right.                                       11              This is a tentative diagnosis and I won't diagnose
12         A.   I don't believe I ever did so, but I could   12              absent further followup. Fair?
13   see that if the patient comes to you and says, Hey,     13                       A.   Yeah. To the extent that these forms allow
14   I -- I saw you, you billed me for a consult, you        14              you to do so. They don't --
15   ordered all these expensive tests, and the insurance    15                       Q.   Right.
16   company wouldn't cover it because you didn't say what 16                         A.   They don't make it -- they don't give you
17   I had, I could see, in the reality of the world, a      17              the -- the option. You have to write and you hope
18   physician saying, Asbestos pleurisy, or something.      18              somebody pays attention to what you write.
19         Q.   Sure.                                        19                       Q.   Right. But in this -- in followup to what
20         A.   Just so the patient gets paid.               20              you have said about a rib fracture patient, I'd like
21   I don't believe I did so, but it is possible that I     21              you for the moment to assume you have a patient where
22   did at some time for those reasons.                     22              you know that that patient, based on their CT scan,
23         Q.   But, sir, in terms of your practice, if you  23              only has a rib fracture, and when you look at the CT
24   believed the patient did not have a diagnosis of        24              scan you do not see any sign of asbestos-related
25   asbestos-related disease, you would not sign a form     25              disease; in your mind you believe that patient does
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                                                                                                                               Exhibit 69-4
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                               REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
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 1    not have asbestos-related disease. At that point                        1   differentiate? And a medical word which means just
 2    would you submit a Medicare claim form saying they                      2   about that is "lamellar". "Lamellar" means thin,
 3    have asbestosis, a condition you know they do not                       3   difficult to appreciate, so we say, Hey, that's a good
 4    have?                                                                   4   word to use.
 5                MR. BECHTOLD: Again, asked and answered.                    5            Q.    All right. So you and Dr. Black and other
 6                THE WITNESS: Yes. I would not.                              6   colleagues at Mount Sanai came up with this term
 7    BY MR. DUERK:                                                           7   "lamellar pleural thickening"?
 8          Q.    You would not do that. And why not?                         8            A.    Yes.
 9          A.    For the reasons -- those reasons I have                     9            Q.    Okay. And would you agree that the
10    already annunciated clearly and repeatedly.                            10   diagnosis of lamellar pleural thickening is a novel
11          Q.    All right.                                                 11   diagnosis?
12          A.    I would not need -- I would not diminish my                12            A.    Yes. In its early presentation, yes.
13    credibility.                                                           13            Q.    All right. In 2018 you agreed that the idea
14          Q.    Fair enough. In terms of lamellar pleural                  14   of lamellar pleural thickening was a novel diagnosis;
15    thickening, that was a topic that came up at the July                  15   correct?
16    2018 hearing in Montana. Fair?                                         16            A.    Yes.
17          A.    Yes.                                                       17            Q.    Okay. In terms of some of the specifics of
18          Q.    All right. And I'll orient you to the                      18   lamellar pleural thickening -- I'm looking at page 96
19    transcript, sir. I'm looking at pages 81, 82, and 83.                  19   of your transcript. You've seen an article that
20    At the bottom of page 81, lines 23 and on, Lamellar                    20   describes lamellar pleural thickening, or Libby
21    pleural thickening is not mentioned in any literature                  21   disease, as having a rapid progression; is that right?
22    until 2014.                                                            22            A.    Looking -- give me a line. I'm on page 96.
23                Correct?                                                   23            Q.    Sure. Ninety-six. Ninety-six, line 3. The
24          A.    Yes.                                                       24   question, You said, generally, impairment will
25          Q.    And you were a co-author in that 2014                      25   progress within about three to five years of the
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 1    article mentioning lamellar pleural thickening;         1                   diagnosis into pleural disease; right?
 2    correct?                                                2                            A.    That's what I -- yes.
 3          A.   Yes.                                         3                            Q.    Okay. And that sometimes pleural disease in
 4          Q.   The other author was Dr. Black and other     4                   Libby could take longer, up to 15 years; is that
 5    colleagues from the CARD Clinic; correct?               5                   right?
 6          A.   Yes. I believe the chief author was          6                            A.    Yes.
 7    Dr. Szeinuk.                                            7                            Q.    And you would see -- you also were asked
 8          Q.   All right. So aside from articles authored   8                   about severe impairment from pleural disease related
 9    by Dr. Szeinuk, Dr. Black, or other physicians who      9                   to Libby pleural disease, and in terms of signs of
10    were colleagues of Mount Sinai or the CARD Clinic,     10                   severe impairment from pleural disease in Libby, you
11    there are no other peer-reviewed articles that         11                   would see that in about five to 10 years from
12    describe a condition as lamellar pleural thickening    12                   diagnosis; right?
13    that you're aware of; correct?                         13                            A.    Yes.
14          A.   Yes, to the best of my knowledge.           14                            Q.    Okay. In order to diagnose a patient with
15          Q.   Okay.                                       15                   asbestos-related disease, you need to have an exposure
16          A.   For reasons that I went into at that trial, 16                   history and to conduct a physical examination; is that
17    and many other times as well, it is difficult to see.  17                   correct?
18    Many physicians who do not have the -- the opportunity 18                            A.    Yes. Take a thorough medical history.
19    to follow the case would not recognize it, so they --  19                            Q.    Right. And in your report you talk about
20    they would not diagnose something they don't           20                   the three prongs of the American Thoracic Society
21    recognize.                                             21                   guidelines from 2004; is that right?
22               And the term -- a term we came -- we were,  22                            A.    Yes.
23    the authors of that article, were discussing, How do   23                            Q.    In terms of diagnosing someone with an
24    we describe this? What are we to call it? What do we   24                   asbestos-related disease, according to ATS guidelines
25    call it? Call it thin? Call it difficult to            25                   you need to have evidence of structural pathology
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                                                                                                                                    Exhibit 69-5
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                              REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                              69                                                                          71
 1    happen very often, if at all.                                       1   radiograph alone, recognizing that you cannot deal
 2          Q.    So if you have a CT scan as opposed to a                2   with the other issues of exposure; you don't know the
 3    chest -- chest x-ray, would you consider that to be a               3   patient was exposed and how. And you don't know
 4    more definitive reading?                                            4   whether he has another disease that could explain
 5          A.    Again, CT scan is just as difficult for                 5   that.
 6    early disease as -- as an x-ray. So you could have                  6            Q.   Right.
 7    very early changes of either lung or pleural fibrosis               7            A.   But you could certainly say the -- the
 8    and think that that is early pleural thickening or                  8   B-reading shows irregular opacities of profusion
 9    asbestosis, and you were wrong.                                     9   three, slash, two, which would be severe asbestosis.
10          Q.    In terms of patients who fall into that                10   It could be severe some other fibrosis as well.
11    category, where you don't have a definitive finding,               11            Q.   Sure.
12    have you ever submitted patients for Medicare benefits             12            A.   So you do -- you do need to know. But as
13    on the basis of an asbestos-related disease diagnosis?             13   far as the disease, you could diagnose a disease based
14          A.    No.                                                    14   on the radiograph.
15          Q.    Why not?                                               15            Q.   Okay. That is not what the ethical
16          A.    For -- for many reasons. One is, if I still            16   considerations for B-readers as published by the
17    consider it tentative, then we've discussed that. And              17   Centers For Disease Control states; however; correct?
18    generally asbestosis and asbestos pleural thickening               18            A.   They don't properly discuss the matter.
19    are not covered, except for Libby, by Medicare, so                 19            Q.   Okay. The --
20    those patients don't come under Medicare                           20            A.   I would agree with what they say in its
21    administration.                                                    21   limitation because the chest radiograph alone doesn't
22          Q.    In terms of the B-reader ethics, are the               22   tell you about exposure or other disease.
23    B-reader ethics a document you've read as a certified              23            Q.   Okay. So absent some of the other required
24    NIOSH B-reader?                                                    24   information referenced by the American Thoracic
25          A.    Yes. I've been a B-reader for probably 45              25   Society guidelines, those required pieces of
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 1    years now, so, yes. And I have to be recertified                    1   information --
 2    every four years. So I am too familiar with it.                     2            A.   Yes.
 3          Q.    Okay. In terms of those B-reader ethics, is             3            Q.   -- exposure history and the ability to make
 4    it your understanding that B-readers shall recognize                4   a clinical diagnosis by ruling out other signs and
 5    the limitations of chest radiograph classifications                 5   symptoms in a patient apparent on physical exam, the
 6    and shall not make clinical diagnoses about                         6   B-readers' ethics here state that absent those pieces
 7    pneumoconiosis based on chest radiographic                          7   of information, a B-reader is not the one making the
 8    classification alone?                                               8   diagnosis. Fair?
 9          A.    That -- you know, I have that somewhere if              9            A.   Yes.
10    you let me dig it out. Here it is.                                 10            Q.   Okay. And so if a B-reader only receives a
11          Q.    Yes. We'll make this an exhibit to your                11   film of a patient and does not receive any information
12    deposition. We'll -- is this document published from               12   about exposure history or any other information about
13    the Center -- sorry -- Centers for Disease Control and             13   the patient -- patient's health status at all, it's
14    Prevention?                                                        14   fair to say that a B-reader is not providing a
15          A.    That particular sentence, B-readers shall              15   diagnosis; correct?
16    recognize limitations of chest radiograph --                       16            A.   Right. It says on the B-reader form,
17    radiograph classifications, I certainly agree with                 17   Changes consistent with pneumoconiosis.
18    recognizing the limitations of the chest x-ray.                    18            Q.   Right. So that would -- in that instance
19          Q.    Okay.                                                  19   the B-reader is not diagnosing; correct?
20          A.    And shall not make -- my printout is missing           20            A.   He's reading changes consistent with such a
21    a line. And shall not make a diagnosis, I guess, of                21   reading, but cannot state that that is the case.
22    pneumoconiosis based on chest -- chest radiographic                22            Q.   So he cannot -- the B-reader cannot state a
23    classification alone.                                              23   diagnosis in that situation; correct?
24                That is absurd. I mean, you may -- you --              24            A.   Yeah. The B-- that's why the B-reader form
25    you certainly can make a diagnosis based on the chest              25   has that -- that qualification at the very top of it;
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                                                                                                                               Exhibit 69-6
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                              REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
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 1   that these are changes consistent with, not                             1            Q.    I'd say -- yes, sir. In terms of lawyer
 2   definitively establishing the diagnosis.                                2   estimates often I'm incorrect, so please -- I'll
 3        Q.    Okay. So in this situation where a B-reader                  3   qualify it, but I think we're about halfway through.
 4   isn't receiving any clinical information, isn't                         4            A.    All right. So let's do another half hour
 5   receiving any exposure history, isn't receiving any                     5   and take a break.
 6   information along those lines, B-readers -- you would                   6            Q.    All right. Thank you, sir.
 7   agree B-readers do not diagnose; correct?                               7                  Doctor, have you reviewed a piece of
 8        A.    Well, does the form they complete say that?                  8   information called CARD's Libby screening dataset?
 9   It says, Changes consistent with. And a B-reader                        9            A.    Not -- no, not that I'm aware of. I think
10   should not receive that information before his                         10   the only -- I reviewed that document, which was the
11   reading, because he should not -- he should read the                   11   report for the dates I told you. That's the only
12   film objectively without being influenced by other                     12   specific CARD document I reviewed.
13   considerations, like, Oh, this guy was heavily                         13            Q.    And how many pages was that specific report
14   exposed; and, therefore, he should be positive, or                     14   that you mentioned?
15   something like that.                                                   15            A.    Last page is 15 -- 16.
16        Q.    In terms of those dynamics involving                        16            Q.    And what does the title page of that report
17   B-readers, is it fair to say that B-readers in this                    17   say?
18   context should be blind, so to speak, as to the                        18            A.    Libby, Montana's Public Health Emergency,
19   patient's history?                                                     19   Asbestos Health Screening, Center for Asbestos-Related
20        A.    To the extent they can be. In the real                      20   Disease, Year Two, Quarter Two, December 1, 2020
21   world you're sent 50 x-rays to read that come from the                 21   through February 28th, 2021.
22   clinic of the sheetmetal workers, so you already --                    22            Q.    What do you recall reading from that
23   you know that they were in an occupation where there                   23   particular document?
24   was a risk of asbestos exposure. So ideally you                        24            A.    The number of cases they evaluated, the
25   should not know these things, but the way the world                    25   number of cases they ran into asbestos-related
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                                                                 74                                                                            76
 1   operates, you often have some of that information.                      1   disease, the types of disease, other things involved
 2        Q.    Understood. In a situation where B-readers                   2   with surveying for occupational disease, fecal occult
 3   are truly blind and do not have any of that                             3   blood testing. So not everything is about lungs.
 4   information, it is not the B-reader's job to diagnose;                  4            Q.    Okay. Do you --
 5   that job falls to the treating provider; correct?                       5            A.    Yeah, go ahead.
 6        A.    Right. And his -- his only role is to fill                   6            Q.    That's okay. Doctor, do you recall seeing
 7   out the B-reading form, and the B-reading form does                     7   anything in that document, or any other, that shows
 8   not say, This is asbestosis.                                            8   CARD's diagnosis dissension rate when compared to
 9        Q.    Right.                                                       9   other outside CT readers'?
10        A.    It says, Changes consistent with.                           10            A.    Yes. There's a section here called Outside
11        Q.    Right. And the treating physician, or the                   11   Radiology Reads.
12   diagnosing physician, would then take into account                     12            Q.    Okay. And what does that section have to
13   that B-reader form in forming a diagnosis; correct?                    13   say about CARD's dissension rate involving outside
14        A.    Yes.                                                        14   readers?
15        Q.    Okay. But the B-reader does not diagnose;                   15            A.    Yeah, it's a very -- the table is extremely
16   correct?                                                               16   small type. I'm trying to -- it gives the readings by
17        A.    Yes.                                                        17   the outside panel, but I don't readily see how they
18        Q.    Okay. Doctor, how are you doing? We are                     18   compare with readings from CARD itself.
19   now at ten o'clock. We've been going for two hours.                    19            Q.    As you sit here --
20   I'm happy to continue or we can take a break.                          20            A.    I'm aware of the fact, and I've -- it's been
21        A.    Let's do another half hour and then take a                  21   discussed many times, that the readings, especially
22   break.                                                                 22   for pleural disease, are much less so by the outside
23        Q.    Sounds good.                                                23   panel than by the CARD physicians; that many cases
24        A.    Can you give me some indication of how much                 24   where pleural thickening was read by CARD, it was not
25   further we will be going, so I'll know --                              25   confirmed by the outside radiologist.
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                                                                                                                                    Exhibit 69-7
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                                REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                              101                                                                       103
 1          A.    No.                                                      1   measure of -- of exposure, not of disease. So you
 2          Q.    Dr. Miller, did you ever hear anything about             2   could certainly have exposure and not have disease.
 3    Dr. Whitehouse testifying in federal court related to                3           Q.   Right.
 4    asbestos exposure in Libby?                                          4           A.   I don't know the relationship of -- you
 5          A.    No.                                                      5   could have -- so if they say somebody had exposure
 6          Q.    In terms of Dr. Whitehouse's work on the                 6   according to the specifications of the EHH, that
 7    mortality study, the early work on the mortality                     7   doesn't mean that they have disease resulting from
 8    study, did you ever hear about Federal Judge                         8   that.
 9    Fitzgerald's Order related to Dr. Whitehouse's                       9           Q.   Okay. Sir, you haven't reviewed the EHH
10    mortality study in the bankruptcy hearings involving                10   Medicare provisions in the Affordable Care Act
11    W.R. Grace?                                                         11   yourself; correct?
12          A.    No.                                                     12           A.   Correct.
13          Q.    Were you aware that a Montana Workers'                  13           Q.   Okay. Did anyone at CARD ever tell you that
14    Compensation judge found Dr. Black's opinions about                 14   CARD has submitted patients without a diagnosis of
15    lamellar pleural thickening to be unconvincing?                     15   asbestos-related disease to the Social Security
16          A.    No.                                                     16   Administration for Medicare benefits since at least
17          Q.    Were you aware of any case in which                     17   2013?
18    Dr. Black offered an opinion about lamellar pleural                 18           A.   Would you restate that question?
19    thickening that was contrary to the opinion of                      19           Q.   Sure. Has anyone at CARD ever told you that
20    Dr. Jaime Szeinuk?                                                  20   CARD has submitted patients without a diagnosis of
21          A.    No.                                                     21   asbestos-related disease to the Social Security
22          Q.    Do you recall discussing any topic along                22   Administration for Medicare benefits since at least
23    these lines with Dr. Black or anyone at CARD?                       23   2013?
24          A.    About disagreements between Drs. Black and              24           A.   I have no knowledge of any of that.
25    Szeinuk?                                                            25           Q.   Okay. Did anybody at CARD ever tell you
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                                                              102                                                                       104
 1          Q.    Yes, or prior court testimony for                        1   that CARD submitted an EHH form in multiple patients'
 2    Dr. Whitehouse's mortality study being funded in part                2   cases when CARD staff knew those patients did not have
 3    by plaintiffs' lawyers.                                              3   an asbestos-related disease?
 4          A.    No.                                                      4           A.   As I said, I don't know that an EHH form
 5          Q.    Has Dr. Black ever told you that CARD has                5   requires your having disease. I thought it only
 6    submitted EHH Medicare claim forms to the Social                     6   applied to exposure.
 7    Security Administration when CARD providers were aware               7           Q.   Okay. Are you aware that an EHH form has a
 8    that the individual patient did not have a diagnosis                 8   box for the asbestos-related conditions of asbestosis,
 9    of asbestos-related disease?                                         9   pleural thickening, and pleural plaquing?
10          A.    No. And as I said, until just a day or two              10           A.   I have never seen that form.
11    ago I didn't even know what EHH was.                                11           Q.   Okay. Are you aware, or did anyone at CARD
12          Q.    Right. Has anyone at CARD ever told you                 12   ever tell you, that CARD has been signing EHH forms
13    that Dr. Black, Tanis Hernandez, and Tracy McNew knew               13   for patients without a clinical diagnosis since the
14    about CARD's practice of submitting patient EHH forms               14   federal grant started?
15    for Medicare benefits to Social Security for patients               15           A.   I have no knowledge.
16    who did not have a diagnosis of asbestos-related                    16           Q.   In terms of individual patients where CARD
17    disease?                                                            17   submitted a Medicare claim form to the Social Security
18          A.    No. Again, my answer is no.                             18   Administration, did anybody at CARD ever discuss the
19          Q.    Okay. Has anyone at CARD ever told you that             19   process of submitting claims to Medicare with you?
20    CARD continues its practice of submitting patients'                 20           A.   No.
21    EHH forms to the Social Security Administration who                 21           Q.   Has anyone at CARD discussed with you any
22    did not have a diagnosis of asbestos-related disease?               22   instances where the clinic diagnosed family members of
23          A.    I -- I didn't -- I don't understand,                    23   CARD providers or staff with asbestos-related disease?
24    actually, this question and the others, because my --               24           A.   I am not aware of a specific instance, but I
25    my limited understanding of EHH was that it was a                   25   know in reviewing cases with Dr. Black that some of
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                                                                                                                              Exhibit 69-8
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                               REMOTE VIDEO RECORDED EXPERT DEPOSITION OF ALBERT MILLER, M.D.
                                                                117                                                                         119
 1    saying.                                                                1           A.   And I didn't see -- when I saw no evidence
 2                And I did get knowledgeable people who                     2   for it.
 3    didn't believe it existed to change their minds when I                 3           Q.   Right.
 4    completed my presentation, but until then they would                   4           A.   The evidence I see may not be agreed to by
 5    have not read lamellar pleural thickening. So I can                    5   other people.
 6    understand why there is this discrepancy.                              6           Q.   Right. But when you knew there wasn't
 7          Q.    And any time any physician veers from                      7   asbestosis, for example, you would not state that
 8    objectives and confirm -- confirmable statements for                   8   person has been diagnosed with asbestosis; correct?
 9    science, they're at risk of destroying their own case;                 9           A.   Absolutely correct.
10    is that right?                                                        10           Q.   Okay. And, Doctor, in terms of opening the
11          A.    Yes.                                                      11   discussion about a patient's asbestos-related disease,
12          Q.    So if a physician misrepresents or misstates              12   say, in the Ohio hypothetical, if -- if you believed
13    or inflates diagnosis rates, or anything along those                  13   there was asbestos-related disease but there were
14    lines, relating to a condition that is novel, they're                 14   other doctors who did not believe asbestos-related
15    at risk of destroying their own case that that novel                  15   disease was present, you would not do anything to
16    condition is valid. Would you agree?                                  16   minimize or hide the fact that other doctors disagreed
17          A.    Yes, if they're -- if they're stating what                17   with you; correct?
18    is in their own best judgment, if they're stating that                18           A.   I would not. I -- I guess if I were more
19    that is not the case, then they are doing a                           19   insecure I might, but, no, I would not.
20    disservice.                                                           20           Q.   All right. And in a situation with the
21          Q.    And is --                                                 21   patient, likewise if there were doctors who disagreed
22          A.    If they are stating what they believe to be               22   with you, you would tell the patient that those other
23    the case based on their own experience and other                      23   doctors disagreed with your diagnosis of asbestosis,
24    people don't agree, then they have the right to state                 24   or asbestos-related disease. Fair?
25    what they believe is the case.                                        25           A.   To the extent I knew that, yes. This --
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                                                                118                                                                         120
 1          Q.    In terms of a physician having the right to                1   this has been part of my experience in medicine for
 2    say what they believe is the case is, I imagine,                       2   over 60 years. I frequently -- I -- I was required by
 3    perfectly acceptable in an academic setting; however,                  3   the hospital where I was the chief of the pulmonary
 4    is it acceptable in the real world to state your case                  4   division to review certain Workers' Compensation cases
 5    involving the diagnosis of a lethal disease with                       5   of asbestos disease, where one of our own staff made
 6    actual patients when the majority of other scientists,                 6   readings of the x-rays which were markedly abnormal,
 7    other physicians, disagree with that diagnostic                        7   and I was asked to review them, and I said, No, I
 8    methodology entirely?                                                  8   don't see anything; these are normal x-rays.
 9          A.    I could answer that speaking for myself, not               9                So, yeah, I have no -- I have no problem
10    speaking for Dr. Black or anyone else. If -- since                    10   reading accurate -- as accurately as I can when I find
11    we're talking about lamellar pleural thickening as an                 11   things or I don't find things.
12    example, what the example of is, if I were reviewing a                12           Q.   Dr. Miller, were you aware that in terms of
13    CT scan on somebody exposed to Libby amphibole, let's                 13   the physicians who over-read CARD's CT
14    say in -- in Ohio or in Minnesota where processing                    14   interpretations, that the clinic diagnoses patients
15    plants worked with Libby amphibole, and I looked at                   15   before those CT over-reads ever make it back to CARD?
16    the CT and I saw an abnormality that I was sure was                   16           A.   Yeah. Well, that -- that's by virtue of how
17    there, I would state what I believed, and if five                     17   the over-reads are done. I mean, CARD has a CT that
18    other people didn't agree with me, so be it.                          18   has to be read so you know what to do with the
19          Q.    Understood. And if you --                                 19   patient, and those CT's are sent around to five other
20          A.    I would not make up things that I saw that I              20   radiologists around the country who often take weeks
21    did not see. I would not state I saw pleural                          21   to do the reading, and then they send their reading
22    thickening when I did not see pleural thickening.                     22   back weeks later. So, yes -- so the CARD reads
23          Q.    Right. You would not state there was a                    23   without knowing what the outside radiologists read.
24    diagnosis of asbestos-related disease when you knew                   24           Q.   And are you aware that CARD diagnoses the
25    there was not a diagnosis of asbestos-related disease?                25   patient right after CARD performs the read rather than
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